 

 

Case 13-11565-CSS Doc 1038 Filed 05/06/14fl ’Page 1 of 1

IN THE UNITED STATES BANIUUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

x
Inre: ' » § chapter 11
OSH 1 Liquidating Corporation (f/k/a In re: : Case No. 13-11565 (CSS)
Orchard Supply Hardware Stores Corporation),
et al., ’ : (Jointly Administered)
Reorganized Debtors. : Re: Docket No. __
x

 

`~1N MNIBU ~

 

Pursuant to Del. Bankr. L. R. 2002-l(a), the Court has scheduled the following omnibus
_ hearing date for the above~capt:ioned cases.

 

DATE ` TIME
July 17, 2014 10:00 a.m. prevailing Eastern Time
' `[Hearing on Final Fee Applieations]
Dated: ,j ~é ,201-4 . %A%é"
Wilmington, Delaware

 

'Ihe Honorable Christopher S. Sontchi
United States Bankruptcy Judge

 

l The reorganized debtors are the following three entities (the last four digits of their respective taxpayer
identification numbers~, follow in parentheses): OSH l Liquidat.ing Corpomtion‘f/k/a Orchard Supply
f Hardware sums corporation (4109), osH 2 Liquidating LLC f/k/a orchard supply Hardware LLC (3395)
and OSH 3 Liquidating LLC f/k/a OSH Properties LLC (3391). The mailing address of each of the
Debtors, solely for purposes of notices and eommunications, is c/o FI`I Consulting, Ine., One Front Street,
Suite 1600, San Francisco, CA 94111 (Atm: Andrew J. Hinkelman).

EAsr\<sszsmo§s

